Case No. 1:17-cr-00334-CMA      Document 17      filed 02/02/18   USDC Colorado         pg 1
                                        of 3




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 17-CR-00334-CMA-1

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. MARCO CASTRO-CRUZ,
     a/k/a Guero,

           Defendant.


                         GOVERNMENT=S MOTION TO DISMISS
                          COUNT TWO OF THE INDICTMENT


       The United States of America, by the undersigned Special Attorneys to the

United States Attorney General, respectfully states and represents to the Court as

follows:

       The above styled case was originally indicted in the District of Wyoming on or

about January 15, 2014 (DOC. #4). The case was transferred under Fed. R. Crim. P. 20

to the District of Colorado for Plea and Sentencing on or about September 19, 2017

(DOC. #1). The above named defendant pled guilty to Count One of the Indictment

(DOC. #1-1) pursuant to the Plea Agreement (DOC. #4) on file in this case, 17-CR-

00334-CMA-1.

       The defendant is set to be sentenced on February 5, 2018. In accordance with

the Plea Agreement (DOC. #4), after sentence has been imposed on Count One of the



                                            1
Case No. 1:17-cr-00334-CMA      Document 17     filed 02/02/18   USDC Colorado        pg 2
                                        of 3




Indictment, the Government respectfully asks the Court to enter an order to dismiss

Count Two of the Indictment. (DOC. #1-1).

      WHEREFORE, the Government respectfully moves the Court to enter an order

 dismissing Count Two of the Indictment.




                           Respectfully submitted,

                           ROBERT C. TROYER
                           United States Attorney

                           By: Bradley W. Giles
                           BRADLEY W. GILES
                           Special Attorney to the United States Attorney General
                           Assistant U.S. Attorney
                           1801 California Street, #1600
                           Denver, CO 80202
                           Telephone: 303-454-0100
                           Email: Bradley.giles@usdoj.gov


                          By: Guy Till
                          GUY TILL
                          Special Attorney to the United States Attorney General
                          Assistant U.S. Attorney
                          United States Attorney’s Office
                          1801 California Street, #1600
                          Denver, CO 80202
                          Telephone: 303-454-0100
                          Email: Guy.Till@usdoj.gov




                                            2
Case No. 1:17-cr-00334-CMA       Document 17      filed 02/02/18    USDC Colorado       pg 3
                                         of 3




                              CERTIFICATE OF SERVICE

      I hereby certify that on this February 2, 2018, I electronically filed the foregoing
ENTRY OF APPERANCE with the Clerk of Court using the CM/ECF system which will
send notification of such filing to all parties of record.


                            BY: Bradley W. Giles
                            Bradley W. Giles
                            Special Attorney to the United States Attorney General
                            Assistant United States Attorney
                            United States Attorney’s Office
                            1801 California Street, #1600
                            Denver, CO 80202
                            303-454-0100
                            Bradley.Giles@usdoj.gov




                                             3
